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_ Rebekah E. Gee M , iPH
GO\/ |_",RNOR SECRETARY f
State of Lomstana .\
Louisiana Departrnent of Health
Office of Pub]ic Health

August 2, 2016

Hon. 'l`hornas L. Sullivan, Ji'.

Livingston Parish Clerk of Court - Civil Division
P.O. Box 1150

Livingston, Louisiana. 70754

Re: Paul Dan Scheppfvs. Diana Rosa Baku
215‘ Judicial District - Civil Court
Division “J“ Docket #l§l,lBl

Dear Mr. Sullivan:

On'l\/lay ll, 2016, 215‘ Judicial Distri'ct Coun Judge, Jeffrey C. Caslie, issued a ludgrnent in the above
referenced case recognizing Paul Daii Sclieppf (DOB: May 5, 1952) the natural and legal father of
Kiniberly Juliana Bal<u Scheppf (DOB: March l, 2006). lodge Cashe further ordered that a true
certified copy of his order and the birth certificate of Kiniberly Juliaiia Baku Scheppf; the documents
from the United States Department of State, acknowledging and recognizing the authenticity of the
biitli certificate of Kiniberly Juliana Baku Scheppf, to be given full faith and ci'eclit, in which Paul Dan
Sclieppf, a native of Louisiaiia and resident of Livingston Parish is the natural and legal father of this
child, be filed and recorded with the Louisiana Bureau ofVital Statistics forthwith

This is to advise that pursuant to LA R,S. 40:34(F) and the Order of ludge Cashe, these documents
have now been duly filed and recorded in the Central Pateniity Repository of the Louisiana Bureau of
Vital Statistics pursuant to 42 U.S.C. 666(a)(5)(M) and are now permanently official state records in
compliance with the court order and the laws of the State of Louisiana.

Lastly, please ascertain that this original mailed to you is iich into the official record of Judgment in
the above referenced case #15 l,l3l to complete and close the record. We are retaining a copy of this
letter in our central paternity repository with this filing for any and all future reference and
archive. We are also mailing, for their records, duplicate originals to:

1) Paul Dan Sch€ppf, Ph.D. REP (RET), 31975 Tetanne Drive, Springfield, La. 70462.
2) Attorney Leslie N, Bankston, P,O. Box 2204, Albany, La. 70711.
3) Attoiney Ellyn J. Cleveiiger, P.O. Box 95, Albany, La. 70711.

Regards,
` v\`).».: \ j-
Devin George, MP\RA

State Registrar and Director

   

Burea\i of Vital Records and Statist'lcs ' P.O. Box 60630 - New Orleans, Louisiana 70160 n
Pl\one: (504) 593-5100 - Fax:(SM) 568-8716 - ww\v.vitah'§.g;grgl§dlih.lix.i\ov
Azi Equal Opporlunity Employer

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TWENTY-FIRST JUDICIAL DISTRICT COURT
PARISH OF LIVINGSTON
STATE OF LOUISIANA
NUMBER: 151,131 DIVISION: “J”
I’AUL DAN SCHEPPF
VERSUS

DIANA ROSA BAKU

  
  
 

FILED DEPUTY CLERK

Judgment
This cause came to be heard in open court on the llth day of May: ’ 9». , before the
l-lonorable Jeffrey C. Cashe, pursuant to Plaintift’s Petition for Judgmem of Fz`liation.
Present in open court were Plaintiff, Paul Dan Scheppf, and his attorney of record, Leslie N.
Banl<ston. l`lie Defendant, Diana Rosa Baku, the natural mother ofthe minor child', was not
present but was represented by her court~appointed attorney, Ellyn J. Clevenger.

After the conclusion of the trial, hearing the arguments of counsel, 'and considering
the law and evidence, the court rendered judgment as follows:

IT IS ORDERED, AI)JUDGED AND DECREED that Paul Dan Scheppf (DOB;
l\/Iay 5, 1952) is hereby recognized as the natural and legal father of the minor child,
Kimberly Juliana Baku Scheppf (DOB; March l, 2006).

IT IS FURTHER OR]JERED, AD`TUDGED AND DECREED that a true certified
copy of this ORDER and the birth certificate of Kimberly Juliana Baku Scheppf; the
documents from the United Statcs Departmcnt of State, acknowledging and recognizing the
authenticity of the birth certificate of Kiniberly Juliana Baku Scheppf, to be given full faith
and credit, in which Paul Dan Scheppf, a native of Louisiana and resident of Livingston
Parish is the natural and legal father of this child, be filed and recorded with the Louisiana
Burcau of Vital Statics forthwith

RENDERED, READ, AND SIGNED in Livingston, Louisiana on the ll_“_‘ day of

M_av, 2016.

_<r€tl~=="-~'

JUDGE JE'FFREY C. CASHE
21ST Ju i ' DistrictCourt

 

  
    

21st JUD|C|AL D|S'¥`R~lCT
PAR\SHMY LIV\NGSTON, LA

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Rcspectfully Submitted:

BANKS W FlRl\/l. LLC

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LesiieN.\Ba§iaidi, # 433
29937 South Mo elier Road
l Post Ot`fice x 2204

Albany, Louisiana 70711
Telephone: (225) 209~1500
Facsirnile: (225) 209-1600
Allorneyji)r Pau/ Dan Scheppf

 

PaulBan Sc¢zrppfv. Dimw Rosa Baku
21“J.D.C.; Suil No.: 151,131;Divisi0n‘,"l
P.aristi nfl,ivingslon. Siatc ol` l.ouisiann
c]adgmear

 

 

Approved as to Form:

 

Post Office Box 95

Albany, Louisiana 7071 l

Telephone: (225) 567-9060
Facsirnile: (225) 567-6384

Cou)'f- Appoimed Att()rneyfé)r Diamz
ROSa Baku

 

 

 

 

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® ' United States ofAmerica

 

DEPARTMENT OF STATE

To all to whom these presents shall come, Greetings:

1 Certify That the document hereunto annexed is under the Seal of the District of Columbia, and that

such Seal is entitled to full faith and credit.*
*For the contents ofthe annexed document,lhe Departmem assumes no responsibilin
This certificate is not valid if it is removed or aliered In any way whatsoever

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TRUE CERT|F|ED ln testimony whereof, l,d qihn F Kerry, Secretary of State, have
COpY licieunto caused the seal of the Depaitrnent of State to be affixed and
ny name subscribed by the Assistant Authentication Officer, of the
said Department, at the city of Wasliington, in the District of
Colurnbia, this ninth day of Apiil, 2015.
AUTHENT|CATED
Issued suani !o CHX]V, Slale of
sept 1§:”1789, 1 S¢a¢. 68-69,~ 22 W( €Wy 010 Stai€
USC 2657; 22USC 265/m 5 USC B
301,- 28 Usc 1733 et seq.; 8 i/sc Y
]443(/)»‘ RULE 44 Fed"”[ R“'es °/ Assistant Authentication Officer,
Civil Procedure. . . .,
Departrnent of State

 

 

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Washmgion,n.c., APRIL 6' ,2015

du all wham these presents shall rume, (Greeitng:

b 1 I certify that NBBEL ACHBEZEF

whose name is signed to the accompanying paper,' is now, and was at the time of

 

k gigning the same, ii Notar'y Public in and for the District of Columbid duly commissioned

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f witness inherent
" Chief, Notar‘y and Authentica,tion Section of the
Distriet of Columbia, have hereunto caused the Seal of the

Dist'rict of Coliimbia to be aj§‘ixed on the day and year first

~,,A/

Chief, Nota'ry and Authentication Section

above written

8-3617

TRUE CERT|F|ED AUTHENT!CATED
COPY

 

CERTIFICATION

I,r/TWXMD/ Q@;L%/ hereby certify that the attached documents
pertaining to /£‘”W‘LL ,4""' is a true copy of the

original document to the best of my knowledge and belief

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[Embh:m]
REPUBLIC OF ANGOLA
CIV|L REG\STRY
7.m REGISTRY OFF|CE OF LUANDA

Cartlflcatton
Thts la a reproduction of Blrlh Certif|oate No. 1262 of the year 2009, Book No. 8, Fo||o No. 25 of

the 7"’ REGISTRY OFF|CE OF THE CIVIL REG!STRY OF LUANDA and conforms to the origina|.
lt ls signed and authentloated with the white seal in use by this Registry Office,

1 subsumth Certlncallon of the Ful| Copy.
Jouma| No. 45346/2012

Da!e: 11/22/2012 5:32:52 pm
DlA Ad)unct Rag|slrar, Rosa Adr|ana Rodrlgues da Costa

[slgnalure]
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C.G.J. 876.00 Kz

         

 

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Blrth Cer\ilieute Folia §§
No. One ’l`honsnnd '\`wo Hundrcd Sixty-\wo

Al Ten hours forty-five minutes PM on the First day anarch of Two Thousand S)'x,

WAS BORN in Luanda, county of lngombotn, munz
Luanda an individual of lhe feminine sex to whom fha proper name of Kimberly Juliana
and family name of Baku Schcppl, child of Pa\).l Don Schcppf, single, eng)ncc'.r by
profession nalive ofLouisiuna. Um'led Sratcs of Ameiica and Diano Ross Baku, singley
[blnnk] by profesxion, native of Cabix\da, county of [blonk], municipality of Cnb`lncla and
re_vidl'ng in Lunnda in the district oflngombofz,

Farernal grandparents Paul Picrxc Sci\cppf and Shirley Ru\h Smiih
Mmerna/ grandparents Baku Isidoro and Ikawa Margar'\ln

This cei'liflca¢e issued on the basis ofihc declaration given by the parents ol' the child.
Afrer having read [i\lcgib]e] and reviewed ix will be signed by the inlm"n‘)\m\s4

and by me Fmima [il\cgib\c] Cu]uso, chiszrax

al Nino hours and Fii'ty minutes on the 'l`wenly~fo\mh day ofluly ofTwo Thousnnil Ninc
in ¢hl‘.v [illegiblc] o_fll\e Cl'vil Regislry of Luandu\

fslgncdl

Pau] Don Schcpp!‘

Diana Rosa Baku

[illcgible signaturc]

Ragi:iererl in the (Journal) under number 1341

Cerliflca!e No. 1262

Kimber|y J\Jliana Buku Scheppf

chi.s!ry [blank] S+.'i'iex [blzmk]

Dr)cumen! No. 1262 Ban{l/e No, {b|an.l:)

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REG|STO C|VIL

7‘ CONSERVATCR\A D`0 REG|STO CIV\L DE LUANDA

Certlflca§ao

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E ieproduqéo do Assento de Nascimenio n,° 1262, do ana 2009. lero N.° B, Fo|ha N.° 25 da
7‘ CONSERVATOR|A DO REGISTO ClVlL DE LUANDA e esté conforme o original
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Substitui Certidéo de Copla lntegral. .
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O/A Conservadora Ad]unta , Rooa Adrlana Rodr|§ues de Coste

 

     
 
     
   
     

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MEN'IO GONSU| ‘

   

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